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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:06CR376
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
LEONA COLE,                                   )
                                              )
              Defendant.                      )

       This matter is before the Court on the following motions filed by the Defendant,

Leona Cole: to vacate, set aside, or correct her sentence pursuant to 28 U.S.C. § 2255

(“§ 2255 motion”) (Filing No. 187); and for a sentencing transcript (Filing No. 188). The

motion includes a request for leave to respond to any arguments made by the government

in response to the motion.

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                               FACTUAL BACKGROUND

       Cole pleaded guilty to Count I of the Indictment charging her with conspiracy to

distribute and possess with intent to distribute 500 grams or more of methamphetamine.

Her plea agreement includes a waiver of the right to file a motion under 28 U.S.C. § 2255,

subject to the following exception: “[t]he right to seek post conviction relief based on
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ineffective assistance of counsel . . . if the grounds for such claim are not known to you,

or not reasonably knowable by you, at the time you enter your plea pursuant to this

agreement.” (Filing No. 85, ¶ 2b(C).) The plea agreement included language relating to

any cooperation that Cole might have provided. (Filing No. 85, ¶ 4.) Cole’s sentencing

guideline range was 120-135 months. (Filing No. 161, ¶ 66.) Cole was sentenced to 120

months and 5 years supervised release. (Filing No. 165.) The plea agreement included

a waiver of Cole’s appeal right, subject to limited exceptions, and a direct appeal was not

filed.

                                       DISCUSSION

         In her § 2255 motion, Cole argues that she received ineffective assistance of

counsel, because her trial attorney, Kristina Murphree, failed to: tell Cole that a lower drug

quantity and charge could have been negotiated, resulting in a lower sentence (Ground 1);

did not “focus” on Cole and simply said that Cole would receive a 10-year sentence

(Ground 2); tell Cole the truth about a second proffer that apparently never took place

(Ground 3); adequately represent Cole during the plea phase, as Cole felt threatened to

plead guilty, thought that she would not have pretrial release if she exercised her right to

a trial, and did not answer question 45 in the plea petition in her own words (Claims 4, 5);

obtain a sentence under the statutory minimum, despite Cole’s cooperation (Ground 6);

have biographical and criminal history information in the Presentence Investigation Report

(“PSR”) corrected (Ground 8); and acknowledge materials read by Cole stating that a judge

can sentence a criminal defendant under her discretion (Ground 10).




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       Additionally, Cole argues: her plea was involuntary because she was promised a

lesser sentence if she cooperated, which she asserts that she did (Ground 7); and the

search of her residence did not result in drugs, residue, or “signs of drugs” (Ground 9).

CLAIMS 7 AND 9

       Under Cole’s plea agreement, these claims may not be raised. Claims 7 and 9 do

not relate to alleged ineffective assistance of counsel. These claims are denied without

further discussion.

CLAIMS 1,1 4 AND 52

       Under Cole’s plea agreement, Cole may not raise these claims because they would

certainly have been known to her, or reasonably known by her, at the time of her plea.

These claims are denied without further discussion.

CLAIMS 1, 2, 3, 6, 8, AND 10

       These remaining allegations relate to aspects of the sentencing phase. In order to

establish ineffective assistance of counsel, Cole must satisfy both prongs of the test

articulated by the United States Supreme Court in Strickland v. Washington, 466 U.S. 668

(1984). The performance prong requires a showing that counsel performed outside the

wide range of reasonable professional assistance and made errors so serious that counsel

failed to function as the kind of counsel guaranteed by the Sixth Amendment. Id. at

687-89. The prejudice prong requires a movant to demonstrate that seriously deficient

performance of counsel prejudiced the defense. Id. at 687.


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       Ground 1 relates to both the plea and sentencing phases.
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       Claim 9, already denied, would also be denied for the same reason that supports
the denial of Claims 1, 4, and 5.

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Claims 1 and 2

       Claims 1 and 2 lack specifics. Cole was charged with a crime involving at least 500

grams of methamphetamine. (Filing No. 1.) In her plea agreement, she agreed that

she was responsible beyond a reasonable doubt for at least 500 grams but less than 1.5

kilograms of methamphetamine. (Filing No. 85, ¶ 9.) In Cole’s plea petition, she stated

that she understood the following: she faced a 10-year mandatory minimum sentence; the

sentence would be for the Court to decide; there was no guarantee that her sentence

would be within the guideline range; relevant conduct applies; and the government would

decide whether her cooperation would rise to the level of substantial assistance. (Filing

No. 84.) At the change of plea hearing, Cole agreed that measures were taken so that she

could thoroughly review the plea documents and complete them line by line with her

attorney. (Filing No. 111, at 18.) Cole stated under oath that her answers to the questions

in the plea petition were true and that any of her questions regarding the plea documents

were answered by her attorney. (Id., at 19.) Cole agreed with the drug amounts listed by

the Assistant United States Attorney during the recitation of the government’s version of

the offense. Those amounts included: February 13, 2006 - 3.5 grams; February 28, 2006 -

3.5 grams; April 10, 2006 - 6 grams; and considering amounts stated by cooperating

individuals, the drug quantity rose to approximately 1.5 kilograms of methamphetamine.

(Id., at 27-28.) It was unknown at the time of the plea whether the government would

argue that any attempted cooperation might lower Cole’s sentence. (Id., at 16; Filing No.

85.)




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       In claims 1 and 2 of her § 2255 petition, Cole argues that her attorney never told her

that the drug weight could be reduced below 500 grams of methamphetamine, thereby

lowering the sentence. Cole argues that her lawyer told her she would receive a 10-year

sentence and “never helped” her. As indicated, the record does not support Cole’s claims.

Claim 4

       In claim 4, Cole argues that she was forced or threatened to plead guilty. She

states that she pleaded guilty in order to obtain pretrial release and avoid going to trial and

being the subject of the testimony of cooperating individuals.

       The plea petition indicates that Cole was not forced or threatened to plead guilty.

(Filing No. 84, ¶¶ 34-41.) Similarly, Cole testified under oath at the change of plea hearing

that she was not forced or threatened, directly or indirectly, to waive her constitutional

rights or plead guilty. (Filing No. 111, at 24, 26.) The record does not support claim 4.

Claim 6

       Cole argues in Claim 6 that although she cooperated by speaking with law

enforcement she was not rewarded with a lower sentence. She asserts that her attorney

failed to assist her in this regard.

       Cole’s answers in her plea petition reflect that she understood that if she cooperates

only the United States Attorney decides whether to file a motion for downward departure

asking the Court for a lower sentence and that the judge “may” impose a sentence below

the guideline range. (Filing No. 84, ¶¶ 32, 33.) At the change of plea hearing, Cole

testified that she understood the plea agreement to promise only that the United States




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Attorney would consider any cooperation and whether to file a motion for downward

departure. (Filing No. 111, at 16, 17.) The record does not support Claim 6.

Claim 8

       In Claim 8, Cole argues that information in her PSR was incorrect, such as her date

of birth, social security number, “past cases & life story.” Cole asserts that her attorney told

her that the PSR had no effect on sentencing and Cole should not request any changes.

       A comparison of Cole’s pretrial services report and PSR reflects a one-day

difference in her date of birth. (Filing Nos. 49, 161.) Her social security number is not

included in her pretrial services report. A discrepancy in either her birth date or social

security number would be relevant, for example, if Cole’s criminal history differed in the two

reports. However, her criminal history in her pretrial report and PSR is identical. Any

information regarding her “life story” in her PSR would not affect Cole’s sentencing

guideline range. Cole cannot demonstrate that her attorney was remiss in not challenging

these details, and she cannot prove either prong of Strickland. Cole also had opportunities

to raise any issues regarding her criminal history, and she did not do so. Therefore, the

record does not support Cole’s claim.

                                       CONCLUSION

       For the reasons discussed, Cole’s § 2255 motion is summarily denied. The motion

for a sentencing transcript is denied as moot.

       IT IS ORDERED:

       1.     The Court has completed the initial review of the Defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Filing No. 187);



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      2.     Upon initial review, the Court summarily denies the Defendant's claims raised

in the § 2255 motion, and the motion (Filing No. 187) is summarily denied;

      3.     The Defendant’s motion for a sentencing transcript (Filing No. 188) is denied;

      4.     A separate Judgment will be issued denying the § 2255 motion; and

      5.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at her last known address.

      DATED this 14th day of April, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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